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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                         )   CASE NO.: 1:24CR252
                                                  )
               Plaintiff,                         )   JUDGE SOLOMON OLIVER, JR.
                                                  )
       v.                                         )
                                                  )
RONALD TOUCHARD,                                  )   GOVERNMENT'S SENTENCING
                                                  )   MEMORANDUM
               Defendant.                         )


       Now comes the United States of America, by and through the undersigned counsel, and

hereby submits this Memorandum in aid of sentencing. The Government respectfully submits

that a sentence within advisory Guidelines range of Level 23, Criminal History Category II, as

contemplated by the plea agreement, is the appropriate range of sentence that will be sufficient

but not greater than that needed under the factors enumerated in 18 U.S.C. § 3553(a).

I.     BACKGROUND

       Defendant Touchard and the Government entered a plea agreement before the court in

which both parties agreed that his Guidelines Range would be no less than 20 and no greater than

25. In particular, the parties agreed and stipulated to guidelines ranges as follow:

Count 1 – Conspiracy to Commit Securities Fraud, 18 U.S.C. § 371
Base offense level                                         71    § 2B1.1(a)(1)
                                                                 § 2X1.1(a)
Loss: $1,500,000 - $3,500,000 (Approximately $2,000,000) +16     § 2B1.1(b)(1)(I)
Ten or more victims                                       +2     § 2B1.1(b)(2)(A)(i)


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 The PSR prepared in this matter considers the base offense level to be 6, due to the fact that the
crime of conviction, 18 USC 371, has a statutory maximum of 60 months. The government
disagrees as the conviction is for a conspiracy to commit securities fraud, which carries a
maximum punishment of 20 years imprisonment and thus a base offense level of 7.
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Aggravating Role                                                  +0-3    § 3B1.1(b)
Total Offense Level before Acceptance of Responsibility          25-28
Acceptance of Responsibility                                       -3     § 3E1.1(a) and (b)
Departure for Physical Condition                                 -(0-2)   § 5H1.4
Zero Point Offender                                              -(0-2)   § 4C1.1


The parties did not agree on whether the aggravating role enhancement or zero-point offender

reduction applied and were free to argue the same. Additionally, defendant was allowed to argue

to the Court that his physical condition warranted an up to two-level reduction. Accordingly,

Defendant could receive reductions lowering his guidelines range to Level 18, Criminal History

I, or potentially be found as high as Level 25, Criminal History II.

II.    SENTENCING

       A.      TOUCHARD WAS A MANAGER OR SUPERVISOR

       Touchard was a manager or supervisor of an extensive fraud scheme designed for one

purpose: to trick the investing public into buying shares of HQGE and then pumping up their

value through fraudulent press releases so Touchard and his co-conspirators could covertly dump

their own shares for a windfall. Touchard lied to investors, using boiler rooms that used mass

marketing techniques to sell the HQGE stock while also hiding his and co-defendant Garcia’s

ownership and control in the stock. Touchard used his knowledge of the securities market and

similar financial schemes to circumvent trading restrictions and directed and organized the use of

an array of proxy or shell companies, an investor relation company in Europe, nominee

shareholders, and attorneys to evade detection.

       For example, Touchard controlled a bank account for International Stock Group (ISG), a

company that held one of the only two convertible debt notes in HQGE stock (the other being

Hemmingway, which was owned and controlled by co-defendant Paul Garcia). (R. 43: Final

PSR, ¶9). On February 7, 2018, at Touchard’s direction, ISG converted approximately $15,000



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of ISG’s convertible note into approximately three million shares of HQGE stock at a rate of

approximately $0.005 per share. (Id.). On April 23, 2018, in a recorded call with Touchard, he

noted that he planned “action” on the HQGE stock that would permit him to convert the three

million in stock at a rate of $0.75 per share. (Id., ¶10).

       Three days later, Touchard stated he and his partner had complete control of HQGE

stock, to include all the shares and notes in the company. (Id., ¶11). Touchard also noted he had

control over other stocks including Petlife (PTLF) and eWorld (EWRC). (Id.). On May 7, 2018,

Touchard told an individual working with the FBI that he was working with Co-Conspirator 1

and using the same European investor relations group that he previously used in a separate stock

promotion involving SHRV. (Id., ¶14). Touchard noted he was spending up to $1,000,000 on the

stock promotion. (Id.). Touchard went on to explain that he would start promoting the stock

through the investor relations firm in approximately two weeks time and that only he, Garcia and

the investor relations group would be selling the HQGE stocks. (Id.). He reiterated that he and

Garcia owned all the notes and all the shares in HQGE. (Id.) Touchard also noted that he

provided Co-Conspirator 2 and his associates with HQGE stock approximately 10% of HQGE’s

stock as part of an attempt to increase liquidity in the stock, and that Co-Conspirator 2 had

attempted to tout the HQGE stock in an attempt to increase the price, but that attempt failed.

(Id.). Touchard then turned to Co-Conspirator 1 to use the investor relations firm to tout the

HQGE stock. (Id.). The next day, Touchard and Garcia both told the FBI source that they had the

“tri-fecta” which included “control of the CEO, control of the board, and control of the free-

trading shares” of HQGE and another stock, ANDI. (Id., ¶15).

       This control and organization is shown in a May 22, 2018, email Garcia sent to the FBI

source and Co-Conspirator 1, in which he cc’d Touchard, where he noted that certain stocks to




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be sold by the FBI source would be issued by Garcia and Touchard only under certain conditions

including that the source would “only sale when [Co-Conspirator 1] and us indicate to do so” and

provide an agreed to kickback to Garcia and Touchard. (Id., ¶17). Similar to the arrangement

with the FBI source, Touchard had similar arrangements with other co-conspirators, including

Co-Conspirators 2, 3, 4. This is evidenced by Touchard’s June 27, 2018, conversation with the

FBI source in which he admitted to providing Co-Conspirator 3 with shares to liquidate at his

instructions, (id., ¶22), and later transmittals of funds from Co-Conspirator 4 for “purchases of

HQGE” stock in later months. (Id., ¶26).

       That Touchard played an important organizational role in the conspiracy is also shown in

the concern and deference other co-conspirators had at the time of the offense. On May 25,

2018, as the pump was set to occur, Touchard was arrested and jailed in California on state

felony fraud charges for a separate real estate fraud scheme that occurred two years prior. While

he was incarcerated, Co-Conspirator 1 noted that everyone in the conspiracy was nervous

because Touchard was in control of everything. (Id., ¶¶ 18-19). Even after he was released from

incarceration, Touchard attempted to continue the conspiracy by employing others, including

Co-Conspirator 5, to pressure the FBI source to “take more paper” and serve as a nominee holder

of additional stock for the conspiracy. (Id., ¶25).

               1.       The conspiracy had more than five other criminal co-conspirators

       As an initial matter, it is clear that Touchard engaged in a conspiracy involving at least

four or more other co-conspirators. As laid out in his factual basis for the plea agreement,

Touchard agreed that he worked with the following individuals:

                    •   Co-defendant Paul Garcia
                    •   Co-Conspirator 1, with whom he organized a promotional scheme for
                        HQGE to mass-distribute false information on the stock;




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                    •   Co-Conspirator 2, to whom he provided shares to liquidate at his direction
                        and further attempted to manipulate trading volume for HQGE;
                    •   Co-Conspirator 3, to whom he provided shares to liquidate at his
                        direction;
                    •   Co-Conspirator 4, to whom he provided shares to liquidate at his direction
                        and who later provided funds to him based on those sales;
                    •   Co-Conspirator 5, whom he employed to tempt the FBI source to engage
                        in further restricted sales and schemes;
                    •   And various nominees, including a nominee owner of ISG and CEO of
                        HQGE;
                    •   Individual 1 – a government source.

       Without considering Individual 1, it is clear that Touchard was working in a criminal

conspiracy of more than four other individuals.

               2.       Touchard organized or led others within the conspiracy

       It is further clear that Touchard managed or supervised others within the conspiracy, to

include: using and managing nominees to obscure his role in controlling HQGE; managing the

timing and scope of the promotional scheme through Co-Conspirator 1, to include the timing of

touts to increase the HQGE price; supervising the conversion of notes to HQGE shares and the

subsequent allocation to co-conspirators to manipulate trading volume; providing instructions

and expectations to others on when to liquidate stocks and expected payments in return; and the

solicitation of others to join in the ongoing conspiracy.

               3.       Touchard’s ultimate financial benefit is not dispositive

       Defendant may complain that, because others in the conspiracy made more money than

he did, he cannot be a manager or supervisor of the group. This argument fails for many reasons.

First, as the Seventh Circuit Court of Appeals has observed, it is not uncommon for a manager to

be paid no more than, or even less than, a subordinate:


       A star salesman may be paid more than the sales manager to whom he reports. A
       hospital’s star surgeons often are paid more than the hospital’s administrator, and
       the head coach of a college athletic team often is paid more than the athletic


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       director to whom he reports. In a small firm, or a small gang, the profits may be
       split evenly because if one member were paid more than the others there mightn’t
       be enough left over to induce them to remain, or because a subordinate might
       have specialized skills that were scarcer than the boss’s skills.

United States v. Rosales, 716 F.3d 996, 998 (7th Cir. 2013).

       The same logic holds true here, where the investor relations firm that made the bulk of

profits from the scheme provided a vital and “specialized skill that [was] scarcer than the boss’s

skills,” thus warranting a higher cut of the profits. That does not change the fact that Touchard

still managed and supervised the operations, including his decision on whether and when to use

the specialized investor relations firm.

       The primary question in determining whether a leadership enhancement applies is not

whether a particular defendant made the most money, but rather “whether the defendant exerted

control over another individual.” United States v. Tanner, 837 F.3d 596, 603 (6th Cir. 2016).

The factors relevant to a leadership enhancement include whether the defendant “exercised

decisionmaking authority, recruited accomplices, received a larger share of the profits, was

instrumental in the planning phase of the criminal venture, or exercised control or authority over

at least one accomplice.” United States v. Vasquez, 560 F.3d 461, 473 (6th Cir. 2009) (emphasis

added) (citing United States v. Lalonde, 509 F.3d 750, 765–66 (6th Cir. 2007)). Importantly, “[a]

district court need not find each factor in order to warrant an enhancement.” United States v.

Castilla-Lugo, 699 F.3d 454, 460 (6th Cir. 2012) (citing United States v. Gates, 461 F.3d 703,

709 (6th Cir. 2006)). And relatedly, no single factor is dispositive on the matter. Cf. United

States v, Taniguchi, 49 F. Appx. 506, 520 (6th Cir. 2002).

       Here, Touchard:

           •   exercised decisionmaking authority – he decided when to engage in touts to drive

               prices up and in what manner (i.e., through Co-Conspirator 1 or 2);



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           •   recruited accomplices – he recruited others, including Co-Conspirators 2, 3, 4, 5

               and other individuals to serve as proxy shareholders or nominees in HQGE, ISG

               and other relevant companies.

           •   was instrumental in the planning phase of the criminal venture – Touchard

               initiated this plan, established ISG, created the debt notes and shares of HQGE,

               hid his and Garcia’s ownership in restricted shares of HQGE, and planned various

               aspects of the pump and dump scheme with Garcia.

           •   exercised control or authority over at least one accomplice – Touchard held

               control over ISG’s accounts although the company was nominally owned by a

               proxy, controlled Co-Conspirator 4 who provided him returns on the dump of

               HQGE shares, and Co-Conspirator 5 who he used to recruit others into additional

               pump-and-dump schemes.

       Touchard’s involvement was not minimal, and the fact that he did not make as much

profit as other co-conspirators does not diminish his leadership role in the conspiracy. See

United States v. Griffith, 781 F. Appx. 418 (6th Cir. 2019) (applying role despite equal share of

profits in prison bribery and contraband scheme where defendant selected the types of

contraband, instructed his girlfriend to obtain that contraband and provide it to bribed prison

guard, determined the amount of the bribes that girlfriend was to pay guard, directed guard to the

“drop spots” within the prison, set the prices to be paid by the other inmates, and recruited his

own mother to assist with money transfers.); United States v. Parker, 25 F.3d 442, 445-46

(leadership role appropriate for defendant police officer who received smaller share of profits

from robberies he initially conceived, for which he selected the targets, provided the weapons

and information on couriers to be robbed, but did not actually participate in the robberies).




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               4.      Multiple Conspirators can be Leaders

       Additionally, that other co-conspirators also had some roles in supervising others does

not foreclose the application of this enhancement. Application Note 4 to § 3B1.1 notes as

much—“There can, of course, be more than one person who qualifies as a leader or organizer of

a criminal association or conspiracy.” Nearly every circuit has applied this section as written. See

United States v. Sexton, 894 F.3d 787, 796 (6th Cir. 2018); United States v. Rivera, 51 F.4th 47,

52 (1st Cir. 2022); United States v. Maes, 961 F.3d 366, 378 (5th Cir. 2020); United States v.

Jones, 792 F.3d 831, 836 (7th Cir. 2015); United States v. Louper-Morris, 672 F.3d 539, 565

(8th Cir. 2012); United States v. Rivera, 527 F.3d 891, 910 (9th Cir. 2008); United States v.

Gehrmann, 966 F.3d 1074, 1085 (10th Cir. 2020); United States v. Vallejo, 297 F.3d 1154, 1169

(11th Cir. 2002); United States v. Bras, 483 F.3d 103, 113–14 (D.C. Cir. 2007); see also United

States v. Cameron, 573 F.3d 179, 185 (4th Cir. 2009) (noting “it is true that more than one

person may qualify as an organizer”).

       Accordingly, Touchard should receive a three-level leadership enhancement pursuant to §

3B1.1(b) as contemplated within the plea agreement, bringing his offense level prior to any

reductions to Level 28, and to a Level 25 following the acceptance of responsibility reductions.

       B.      TOUCHARD DOES NOT QUALIFY FOR A ZERO-POINT OFFENDER
               REDUCTION

       While the parties agreed that Defendant could argue to apply the zero-point offender

reduction under § 4C1.1, the parties did not agree on whether it did in fact apply.

       First, for the reasons set forth above, Touchard was not an incidental or minor participant

in this enterprise but was a manager or supervisor at a minimum of an extensive criminal

conspiracy and is disqualified from the reduction pursuant to § 4C1.1(a)(10).



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       Second, this Court should not simply ignore Touchard’s prior felony fraud conviction for

which he was sentenced to four years incarceration. To be clear, Touchard committed two

separate felony crimes. The first offense was a real estate investment fraud against a victim in

California under Case No. 18HF0732 in the Superior Court of California, Newport Beach,

California (“the California case”). That fraud occurred in or around June 13 to September 2,

2016, almost two years prior to the instant case, and he was arrested in that case at the end of

May 2018. In the California case, he obtained three fraudulent mortgages more than $5,900,000

and on August 15, 2023, was initially sentenced and ordered to pay restitution of approximately

$1,000,000 to a victim (“the 2016 victim”) in California by July 1, 2024. On November 6, 2024,

because Touchard had failed to make restitution to the 2016 victim, he was resentenced in

California state court to fours years incarceration. His second criminal case is the present case,

which he engaged in two years after the first fraud. They are not intertwined except for the fact

that Touchard is the criminal defendant in both cases. The schemes are factually and temporally

separated from one another and should not be conflated. Accordingly, this 2024 conviction must

be counted toward his criminal history, resulting in three points and a Criminal History Category

II.

       Third, even considering only his 2023 California restitution sentence, he would still

receive one criminal history point pursuant to § 4A1.1(c), thus rendering him ineligible for a

zero-point offender reduction under § 4C1.1(a)(1). Touchard makes no attempt to explain why

this 2023 conviction is not a valid conviction, nor how it should not be counted against his

criminal history score.

       Finally, that Touchard was timely indicted on the federal case prior to being sentenced on

the California state case is of no import. If he had his way, ostensibly to have been sentenced




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federally prior to his 2023 California sentencing, then he would not have qualified for a Zero-

Point Reduction under § 4C1.1 as that section, although retroactive, was not effective until

November 1, 2023. His claim that he wanted to plead and be sentenced prior to being

resentenced in the California case also runs contrary to the intent of the Guidelines and Section

4C1.1, which at its core is reserved for those defendants for whom this is truly their first offense.

That is not the case for Touchard. Moreover, he ignores the fact that he did, in essence, already

receive the benefit of being a first-time offender as reflected in his initial California restitution

sentence on August 15, 2023—for which that sentencing court did not have the benefit of seeing

his prior criminal history to include the present federal case. He should not receive that same

benefit twice from this Court. He cannot be a first-time offender twice.

        Accordingly, this Court must correctly calculate his criminal history as Category II

giving full credit to his prior four-year sentence in California and further deny his motion to

reduce his offense level pursuant to § 4C1.1. Thus, Touchard remains a Level 25, Criminal

History Category II, prior to additional potential reductions.

        C.      THE GOVERNMENT DOES NOT OPPOSE THE COURT’S
                CONSIDERATION ON WHETHER TO DOWNWARD DEPART DUE TO
                TOUCHARD’S HEALTH REASONS

        Consistent with the plea agreement, the government does not object to the Court’s

consideration of Touchard’s health condition in determining whether a grounds for an up-to-two-

level departure pursuant to § 5H1.4 exists in this matter. Thus, Touchard may potentially be a

Level 23 or Level 25, CHC II, depending on the Court’s decision.

        D.      THE COURT SHOULD CREDIT DEFENDANT TOUCHARD FOR TIME
                SPENT ON THE WRIT OF HABEAS CORPUS AD PROSEQUENDUM

        As contemplated in the plea agreement, the government agrees with defendant that he

should receive credit, in the form of a downward departure pursuant to § 5G1.3(d), for time



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between December 6, 2024 (the date he was taken into federal custody from California for this

case) to January 7, 2025 (the date he arrived in this district).

       E.      GENERAL PURPOSES OF SENTENCING

       Title 18, United States Code, Section 3553(a) requires the sentencing court to consider

the general purposes of sentencing, including: “the need for the sentence imposed- (A) to reflect

the seriousness of the offense, to promote respect for the law, and to provide just punishment for

the offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect the public from

further crimes of the defendant; and (D) to provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective manner.”

Gall v. United States, 552 U.S.38, n.6 (2007). “[A] district court should begin all sentencing

proceedings by correctly calculating the applicable Guidelines range,” which “should be the

starting point and the initial benchmark.” Id. at 49. The Guidelines range is thus “the lodestar”

that “‘anchor[s]’” the district court’s discretion. Molina-Martinez v. United States, 136 S. Ct.

1338, 1345-46 (2016) (quoting Peugh v. United States, 133 S. Ct. 2072, 2087 (2013)).

       First, the “nature and circumstances of the offense” make a Guidelines sentence

appropriate due to the defendant’s leadership role in this conspiracy. 18 U.S.C. § 3553(a)(1). The

defendant coordinated with co-conspirators to manipulate trading volume and share pricing of

fraudulent stocks and set up promotional schemes to mass-distribute false information to the

securities market. He held a central managerial role in recruiting others to act as proxies,

managing the timing of press releases and stock liquidations to manipulate the market, and the

use of boiler rooms to target large swaths of victims.

       In addition, the crime was a serious one. This penny stock conspiracy victimized

hundreds of investors, defrauding them of millions of dollars. Investors have a right to believe

that the stock prices and volume data they use to guide their investment decisions is “determined


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by the natural interplay of supply and demand, not rigged by manipulators.” Gurary v.

Winehouse, 190 F.3d 37, 45 (2d Cir.1999). They have a right to believe that press releases that

inform them are legitimate, not lies made to swindle them.

       Presently, the parties agree that a sentence within the properly calculated guidelines

range, as contemplated by the plea agreement, is appropriate. Here, the defendant participated in

a serious offense that involved more than eight hundred victims. There is a greater need for

general deterrence for fraud schemes than other crimes, because “economic and fraud-based

crimes are more rational, cool and calculated than sudden crimes of passion or opportunity,

these crimes are prime candidates for general deterrence.” See, e.g., United States v. Martin, 455

F.3d 1227, 1240 (11th Cir. 2006) (quoting Stephanos Bibas, White–Collar Plea Bargaining and

Sentencing After Booker, 47 Wm. & Mary L. Rev. 721, 724 (2005)) (internal quotation marks

omitted)). A sentence within the applicable Guidelines range, which represents a strong but

fair sentence by the Court, would send a strong deterrent message to both the defendant and to

those who engage in similar conduct as the defendant that such crimes are serious offenses that

come with appropriate consequences and promote respect for the law, and provide just

punishment for the defendant.

       F.      RESTITUTION

       As agreed to in the plea agreement, and pursuant to the Mandatory Victim Restitution

Act, 18 U.S.C. §§ 3663 and 3663A, the government also requests that this Court order defendant

to pay $2,036,658.53 as restitution, due and payable immediately upon sentencing to the victims

in this matter. The government will provide a full list of victims and current contact information

to this Court at sentencing.




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III.    CONCLUSION

        For the foregoing reasons, the government submits that a sentence within the advisory

guidelines range of Level 23 (assuming this Court grants his motion for a downward departure

due to his physical condition), Criminal History Category II, resulting in a range of 51-60

months incarceration (as limited by the statutory maximum of 60 months for the count of

conviction) is appropriate in this case. As noted above, such sentence should ensure to provide

credit to defendant for time served under the federal writ of habeas corpus ad prosequendum in

this matter, and also include an order of restitution against defendant.

                                                      Respectfully submitted,

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